Case 2:04-cr-20077-SH|\/| Document 68 Filed 05/10/05 Page 1 of 2 Page|D 102

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA,

Piaintiff, ijQQl§_/&&:;:{:M

vs. No. 04-20077~Ma

JERRA LYKINS, et al

Defendant.

 

AMENDMENT TO A PROTECTIVE ORDER

 

Previously a Protective Order was entered as R-34 in this case
on June 30, 2004. At this time, said Protective Order is amended
to include authorization for the defendant, Jerra Lykins, to view
and inspect the discovery materials for this case in accord with
the conditions set out in said Protective Order, R~34.

0
IT is so oRDERED this l z` day cf May, 2005.

SAMUEL H. MAYS, JR.
United States District Court Judge

 

Approved for Entry:

 

s”~ /U ".// 5"
Date

   

UNITED TESAT DISTRIC CoURT - v\/EERi\IST D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:04-CR-20077 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

